Clear Form

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

 

 

)

IRVIN MUSGROVE - PRO SE Case No. _20-CV-0614 __
)

VS. ) DECLARATION OF SERVICE

)

ANGIE HANIFIN ) in Served: 6 cl

OCEANSIDE HOUSING AUTHORITY | Date Served

sassamantamanenetcens.) 0 020

 

 

I, the undersigned declare under penalty of perjury that I am over the age of eighteen years and
not a party to this action; that I served the above named person the following documents:

in the following manner: (check one)

1) By personally delivering copies to the person served.

2) X By leaving, during usual office hours, copies in the office of the person served
with the person who apparently was in charge and thereafter mailing (by first-class

mail, postage prepaid) copies to ther person served at the place where the copies
were left.

3) By leaving copies at the dwelling house, usual place of abode, or usual place of
business of the person served in the presence of a competent member of the
household or a person apparently in charge of his office or place of business, at
least 18 years of age, who was informed of the general nature of the papers, and

thereafter mailing (by first-class mail, postage prepaid) copies to the person served
at the place where the copies were left.

4) By placing a copy in a separate envelope, with postage fully prepaid, for each
address named below and depositing each in the U.S. Mail at
on , 20

Executedon = AUGUST 0S_, 2020 at 1:00PM

Name of Server: Aubin ER

--ODMA\PCDOCSWORDPERFECTI1 456012 May 5. 1999 (10:01am)
